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                   Timeline— State Court Actions + Emails with Trial Coordinator


              At hearing On January 25, 2021, State Court Judge granted partial summary
               judgment and sets remaining issues for trial on March 29, 2021 – this ruling
               is evidenced by the Order Granting Partial Summary Judgment signed on
               February 14, 2021.
              On March 22, 2021, Mike Seely (counsel for Dr. Noel) notified the trial
               coordinator that a colleague had tested positive for Covid-19, but that two of
               the three members of the Foley trial team had already had Covid in January
               and the third had tested negative. Out of an abundance of caution, the Court
               reset the case for May 3, 2021.
              On April 22, 2021, the trial coordinator was concerned that the Court’s April
               trial was going to run longer than expected.
              Anglo-Dutch Energy filed bankruptcy on April 23, 2021.
              On April 26, Jett Williams (counsel for Van Dyke) asked for a continuance in
               light of a personal issue. In response, the trial coordinator told the parties that
               the jury panel was cancelled due Anglo-Dutch’s bankruptcy filing on April
               23, 2021 (a Friday afternoon).
              Later on April 26, Mike Seely advised the trial coordinator that Dr. Noel
               intended to proceed against Van Dyke and would sever out the claims against
               Anglo-Dutch Energy, but that in light of the personal issue raised by Jett
               Williams, there was no objection to moving the trial back 30 days.
              May 4, 2021 – State Court Judge signed and Order severing out Dr. Noel’s
               claims against Anglo-Dutch Energy.
              On May 12, 2021, the State Court Judge scheduled a status conference for the
               following day to discuss assigning the case trial on June 1. That same day, Jett
               Williams advised that, due to his personal issue, he wasn’t sure whether he
               would be able to try the case on June 1.
              At the status conference held on May 13th, the case was not set for June 1 in
               light of Jett Williams’ personal issue. At that time, the Court believed the
               case would be set for the last week of July, the first week of August, or
               sometime in October.
              Van Dyke filed bankruptcy on May 25, 2021.



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